






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00449-CR

NO. 03-07-00454-CR






Susan Roten, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 403RD JUDICIAL DISTRICT

NOS. D-1-DC-06-301882 &amp; D-1-DC-06-204595

HONORABLE BRENDA KENNEDY, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		Susan Roten was convicted of intoxication manslaughter and aggravated assault based
on an open plea of guilty.  The court assessed punishment at ten years in prison for each offense set
to run concurrently.  On appeal, Roten contends that she received ineffective assistance of counsel
because her trial counsel failed to inform her that the State had offered a sentence of eight years in
prison.  We affirm.

		Because Roten does not challenge any aspect of the finding that she was guilty, we
need not discuss the facts of the underlying offenses and will focus on whether the record
supports&nbsp;her claim that she received ineffective assistance of counsel.  We evaluate claims of
ineffective assistance of counsel against the standard set forth in Strickland v. Washington. 
See&nbsp;466&nbsp;U.S. 668, 687 (1984); Hernandez v. State, 988 S.W.2d 770, 774 (Tex. Crim. App. 1999). 
In deciding a claim of ineffective assistance of counsel, we must determine whether an attorney's
performance was deficient, and if so, whether that deficiency prejudiced the defense.  Strickland,
466&nbsp;U.S. at 687; Thompson v. State, 9 S.W.3d 808, 812 (Tex. Crim. App. 1999).  An attorney's
performance is deficient if it falls below an objective standard of reasonableness.  Strickland,
466&nbsp;U.S. at 688; Thompson, 9 S.W.3d at 812.  Deficient performance is prejudicial when, but for the
attorney's unprofessional conduct, there is a reasonable probability that the outcome of the
proceeding would have been different.  Strickland, 466 U.S. at 694; Thompson, 9 S.W.3d at 812. 
A reasonable probability is a probability sufficient to undermine confidence in the outcome. 
Strickland, 466 U.S. at 694; Thompson, 9 S.W.3d at 812.  In determining whether an
attorney's&nbsp;performance was deficient, we apply a strong presumption that the attorney's conduct
was&nbsp;within the range of reasonable professional assistance.  Id. at 814.  We review the effectiveness
of counsel in light of the totality of the representation and the circumstances of each case. 
Thompson, 9 S.W.3d at 813.

		Failure of defense counsel to inform a criminal defendant of plea offers made by
the&nbsp;State is an omission that falls below an objective standard of professional reasonableness. 
Ex&nbsp;parte Lemke, 13 S.W.3d 791, 795 (Tex. Crim. App. 2000).  A defense attorney in a criminal case
must advise his client of a plea bargain offer, of whether accepting the offer is desirable, and of the
defendant's prospects of success on appeal, and the defendant must then choose whether to plead
guilty.  Hanzelka v. State, 682 S.W.2d 385, 386 (Tex. App.--Austin 1984, no pet.).  These
guarantees exist primarily to ensure that clients, who typically are not present at plea discussions,
are made aware of them. Id. at 38.  To prove counsel was ineffective for failing to inform his client
of an offer, a defendant must establish that counsel acted unilaterally in rejecting an offer.  Harvey
v. State, 97 S.W.3d 162, 168 (Tex. App.--Houston [14th Dist.] 2002, pet. ref'd).

		At the hearing where Roten pleaded guilty, the following exchanges occurred among
the court, defense counsel Jamie Balagia, and prosecutor Judy Shipway:


	THE COURT:  Do you-all want to have any discussions before we bring the jury
panel in?  Where are we on this?

	

	MR. BALAGIA:  Well, we have tried to work it out, Judge, and evidently our
numbers are--

	

	THE COURT:  --way apart?

	

	MR. BALAGIA:  Well, ten and five.

	

	THE COURT:  That's not that far apart.

	

	MR. BALAGIA:  But I came up from two to get to five.

	

	. . . .

	

	MS. SHIPWAY:  But a lot of it is what our office feels the community requires in
this case, and I can go to eight, but that's as low as I can go.

	

	MR. BALAGIA:  I'm not authorized to sell at eight, and I would advise against it.

	

	. . . .

	

	THE COURT:  All right.  So y'all are at five, y'all are at eight?

	

	MS. SHIPWAY:  Yes, ma'am.

	

	THE COURT:  Y'all aren't that far apart.  You-all want me to decide?

	

	MR. BALAGIA:  Well, not--the only reason I agreed to throw the five out--

	

	THE COURT:  I wouldn't know.  I would have to have a PSI.

	

	MR. BALAGIA:  --was to make the ten go away.

	THE COURT:  Well, it did go away.  You have accomplished that.  You have
succeeded.


	MR. BALAGIA:  But I thought it should have gone down.  I didn't want to offer five. 
I would have understood if this was a victim who is unrelated and if we had a great
outcry about this situation

	

	THE COURT:  Let me look at the indictment.  So there is no--okay, it's a
deadly--you are talking about eight with a deadly weapon?

	

	MS. SHIPWAY:  Yes, ma'am.

	

	MR. BALAGIA:  Well, then we couldn't go there nowhere near there.

	

	. . . .

	

	THE COURT:  Where is she mentally?

	

	MR. BALAGIA:  I stretched her hard to get five, very hard.


Shortly thereafter, the court went off the record.  When the record was resumed, Roten pleaded guilty
without an agreement as to sentence.  Roten filed motions for new trial asserting that her plea was
involuntary, but the record does not contain any hearing or additional evidence concerning that claim
or the claim of ineffective assistance of counsel.

		The record does not support Roten's claim of ineffective assistance.  The
record&nbsp;is&nbsp;silent as to whether the eight-year offer had been made to Roten or her counsel before
this&nbsp;hearing.  We note, however, that her counsel's statement of the parties' respective offers on
sentencing--"ten and five"--coupled with the prosecutor's subsequent statement--"I can go to
eight"--is more consistent with the hearing being the first time the possibility of an eight-year term
was mentioned to Roten's counsel.  His subsequent statements--"I'm not authorized to sell at eight,
and I would advise against it" and "I stretched her hard to get five, very hard"--hint at a
limitation&nbsp;on his authority to consider anything above five years and clearly show him advising his
client on&nbsp;the&nbsp;record.

		Whether the State had mentioned the eight-year offer and Roten's counsel had not
told her of such an offer before the hearing loses significance because the record plainly shows that
Roten was present in the courtroom during these discussions and was, therefore, informed of the
possible eight-year offer and advised against accepting it.  Nothing in the record indicates that Roten
did anything to indicate interest in pleading guilty with a recommendation of an eight-year term. 
Roten has not shown that her counsel was otherwise ineffective.

		On this record, Roten has not proven that her counsel's performance was deficient. 
Her intimations from the discussions set out above that her counsel did not communicate an offer
of an eight-year sentence are weak, contrary to the record, and do not overcome the strong
presumption that counsel's performance was adequate.  Even if we were to assume that her counsel
failed to communicate an earlier eight-year offer, we conclude that she can show no harm because
she was present in open court when the eight-year offer was discussed and did nothing to indicate
any interest in it before pleading guilty without a recommended sentence.

		Affirmed.


						                                                                                    

						G. Alan Waldrop, Justice

Before Chief Justice Law, Justices Pemberton and Waldrop

Affirmed

Filed:   August 15, 2008

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